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LINDA TERRIZZI,                       US DISTRICT COURT

        Plaintiff,                    DISTRICT OF MASSACHUSETTS

              vs.                     NO.:

ALOFT HOTEL MANAGEMENT,INC.,
et al

        Defendants.




SEE ATTACHED LIST FOR ALL DEFENDANTS
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                                     LINDA TERRIZZI

                            PARTIES TO THE LITIGATION

I.    PLAINTIFF
        1. Linda Terrizzi
             2131 ne 15™ Terrace
             Wilton Manors, Fort Lauderdale, Florida 33305

II.   DEFENDANTS
        1. Aloft Hotel Management, Inc.
             401 D Street, Unit lA
             Boston, Massachusetts 02210

        2. Aloft Lounge, LLC
             401 D Street, Unit lA
             Boston, Massachusetts 02210

        3. Aloft, Inc.
             401 D Street, Unit lA
             Boston, Massachusetts 02210

        4. Aloft Group,Inc.
             401 D Street, Unit lA
             Boston, Massachusetts 02210

        5. ARES Management,LLC
             63 Kendrick Street, Suite 101
             Needham, Massachusetts 02494


        6.   Marriott International, Inc.
             401 D Street, Unit lA
             Boston, Massachusetts 02210


             c/o The Corporation Trust Company Registered Agent
             Corporation Trust Center
             1209 Orange Street
             Wilmington, Delaware 19801
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7. Marriott Hotel Services, Inc.
   401 D Street, Unit lA
   Boston, Massachusetts 02210


   c/o The Corporation Trust Company Registered Agent
   Corporation Trust Center
   1209 Orange Street
   Wilmington, Delaware 19801

8. JohnDoe,Inc. ,#1
   401 D Street, Unit lA
   Boston, Massachusetts 02210

9. John Doe,Inc. #2
   401 D Street, Unit lA
   Boston, Massachusetts 02210

10. John Doe,Inc. #3
    401 D Street, Unit lA
    Boston, Massachusetts 02210
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                              COMPLAINT FOR A CIVIL CASE

  L    THE PARTIES TO THE COMPLAINT


       A. THE PLAINTIFF


           1. The Plaintiff LINDA TERRIZZI is an adult individual and citizen of the State
of Florida residing at Wilton Manors, located at 2131 NE 15^’’ Terrace, Fort Lauderdale, Florida
33305.


       B. THE DEFENDANTS


                                THE “ALOFT^^ DEFENDANTS


           2. Defendant No. 1


               Defendant ALOFT HOTEL MANAGEMENT,INC.,(hereinafter referred to as
“Management”)is a corporation, partnership and/or other business entity, that regularly,
routinely and consistently conducts business within the Commonwealth of Massachusetts with a
principal place of business commonly known to the general public and identified as the “Aloft
Boston Seaport Hotel” located at 401- 403 D Street, Unit 1A in Boston, Massachusetts.


           3. Upon information and belief, the aforesaid enumerated Defendant No. 1 (The
“Management”)on or about October 3, 2018 and for a substantial period of time prior thereto
and subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit lA, Boston Massachusetts.

           4. Defendant No. 2


               Defendant ALOFT LOUNGE,LLC,(hereinafter referred to as the “Lounge”)is
a limited liability corporation, corporation, partnership and/or other business entity that regularly,
routinely and consistently conducts business within the Commonwealth of Massachusetts with a
principal place of business commonly known to the general public and identified as the “Aloft
Boston Seaport Hotel” located at 401-403 D Street, Unit 1A in Boston, Massachusetts.


           5. Upon information and belief, the aforesaid enumerated Defendant No. 2(The
“Lounge”)on or about October 3, 2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403D. Street, Unit 1 A, Boston Massachusetts.
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           6. Defendant No.3


                Defendant, ALOFT,INC.,(hereinafter referred to as “ALOFT”)is a
corporation, partnership and/or other business entity, that regularly, routinely and consistently
conducts business within the Commonwealth of Massachusetts with a principal place of business
commonly known to the general public and identified as the “Aloft Boston Seaport Hotel”
located at 401-403 D Street, Unit 1A in Boston, Massachusetts.

           7.   Upon information and belief, the aforesaid enumerated Defendant No.3
(“ALOFT”)on or about October 3,2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit lA, Boston Massachusetts.

           8. Defendant No. 4


                Defendant ALOFT GROUP,INC.(hereinafter referred to as the “GROUP”)is a
corporation, partnership and/or other business entity, that regularly, routinely and consistently
conducts business within the Commonwealth of Massachusetts with a principal place of business
commonly known to the general public and identified as the “Aloft Boston Seaport Hotel”
located at 401-403 D Street, Unit lA in Boston, Massachusetts.


           9. Upon information and belief, the aforesaid enumerated Defendant No. 4(The
“Group”)on or about October 3, 2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit 1 A, Boston Massachusetts.

           10. Defendant No.5


                Defendant ARES MANAGEMENT,INC.(hereinafter referred to as “ARES”),
is a corporation, partnership and/or other business entity, that regularly, routinely and
consistently conducts business within the Commonwealth of Massachusetts with a principal
office located at 63 Kendrick Street, Suite 101, Needham, Massachusetts 02494 and at a hotel
commonly known to the general public and identified as the “Aloft Boston Seaport Hotel”
located at 401-403 D Street, Unit lA in Boston, Massachusetts.




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            11. upon information and belief, the aforesaid enumerated Defendant No. 5(The
(“ARES”)on or about October 3, 2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit lA, Boston, Massachusetts.

                             THE “MARRIOTT” DEFENDANTS


            12. Defendant No.6


               Defendant MARRIOTT INTERNATIONAL,LLC,(hereinafter referred to as
the “MARRIOTT”)is a corporation, partnership and/or other business entity, that regularly,
routinely and consistently conducts business within the Commonwealth of Massachusetts with a
principal place of business commonly known to the general public and identified as the Aloft
Boston Seaport Hotel located at 401-403 D Street, Unit lA in Boston, Massachusetts.


           13. Upon information and belief, the aforesaid enumerated Defendant No. 6
(“Marriott”) on or about October 3, 2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit 1 A,Boston Massachusetts. Plaintiff avers that
the Aloft Boston Seaport Hotel is commonly known and identified to the general publie as a
Marriott International Inc. hotel, as owner of the aforesaid hotel.

           14. Defendant No. 7


               Defendant MARRIOTT HOTEL SERVICES,INC.(hereinafter referred to as
“Hotel Services”) is a eorporation, partnership and/or other business entity, that regularly,
routinely and consistently conducts business within the Commonwealth of Massachusetts with a
principal place of business commonly known to the general public and identified as the “Aloft
Boston Seaport Hotel” located at 401-403 D Street, Unit 1A in Boston, Massachusetts.


           15. Upon information and belief, the aforesaid enumerated Defendant No. 7(“Hotel
Services”)on or about October 3, 2018 and for a substantial period of time prior thereto and
subsequent thereto, owned, operated, controlled, managed, supervised, maintained, inspected
and/or possessed a hotel business operating under the fictitious name of the “Aloft Boston
Seaport Hotel” located at 401-403 D Street, Unit 1 A, Boston Massachusetts.




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                           THE “JOHN DOE INC.” DEFENDANTS



           16. Defendant No.8


              Defendant “JOHN DOE,INC.#1” (hereinafter referred to as “Doe - 1”) is a
corporation, partnership and/or other business entity that regularly, routinely and consistently
conducts business at, inside, and upon the premises known and identified as the Aloft Boston
Seaport Hotel located at 401-403 D Street, Unit lA, Boston Massachusetts.

           17. Defendant No.9


               Defendant “JOHN DOE,INC.#2” (hereinafter referred to as “Doe -2”) is a
corporation, partnership and/or other business entity that regularly, routinely and consistently
conducts business at, inside, and upon the premises known and identified as the Aloft Boston
Seaport Hotel located at 401-403 D Street, Unit 1 A, Boston Massachusetts.

           18. Defendant No. 10


               Defendant “JOHN DOE,INC.#3(hereinafter referred to as “Doe -3”)is a
corporation, partnership and/or other business entity that regularly, routinely and consistently
conducts business at, inside, and upon the premises known and identified as the Aloft Boston
Seaport Hotel located at 401-403 D Street, Unit 1 A, Boston Massachusetts.


           19. Upon information and belief, the aforesaid enumerated Defendant Numbers 8,9
and 10(“John Doe,Inc”. Numbers 1-3) on or about October 3, 2018 and for a substantial
period of time prior thereto and subsequent thereto, owned, operated, controlled, managed,
supervised, maintained, inspected and/or possessed a hotel business operating under the fictitious
name of the “Aloft Boston Seaport Hotel” located at 401-403 D Street, Unit lA, Boston
Massachusetts. Plaintiff avers that the Aloft Boston Seaport Hotel is commonly known and
identified to the general public as a Marriott International Inc. hotel, as owner of the
aforesaid hotel.


II.    BASIS FOR JURISDICTION


                                      28U.S. CODE $1332




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           20. Pursuant to 28 U.S. Code $ 1332. this Honorable District Court shall have
original jurisdiction of this civil action since the matter in controversy exceeds the sum or value
of $75,000.00 exclusive of interest and costs, and is between citizens of different States.


           A. DIVERSITY OF CITIZENSHIP


               1.      Plaintiff LINDA TERRIZZI is a citizen of the State of Florida.


               2.      Defendants Nos.#1 - #4 - The “ALOFT” Defendants and Defendant #5
- the ARES Management Inc. defendant are corporations which are citizens of the
Commonwealth of Massachusetts.


               3.      Defendants Nos.6 - #7- the “MARRIOTT” defendants are corporations
which are citizens of the State of Delaware and are duly and legally authorized to conduct
business within the Commonwealth of Massachusetts.


               4.      Defendant Nos. #8 - #10 the “JOHN DOE INC.” Defendants #1 - #3 are
corporations whose identities are currently unknown to plaintiff and are within the exclusive
knowledge, possession, and control of all defendants. The aforesaid entities are corporations
which may be citizens of the State of Delaware, any other State, and/or the Commonwealth of
Massachusetts and are duly and legally authorized to conduct business within the
Commonwealth of Massachusetts.


           B. AMOUNT IN CONTROVERSY


               1.      Plaintiff avers that the amount in controversy in this premises liability
civil action personal injury case exceeds the sum or value of $75,000.00 exclusive of interest and
costs since she has suffered disabling, serious and permanent orthopedic personal injuries
necessitating extensive, protracted medical treatment since October 3,2018, the date of the
accident, until the present time.

               2.      The severity of the plaintiffs injures required operative intervention
on her cervical spine in February 2021. She has received comprehensive post-surgical
physical therapy and rehabilitation treatment. The costs and expenses for the plaintiffs
medical treatment are approximately $200,000.00 and will increase since she will continue
to incur substantial medical expenses for future treatment.

III.    GENERAL AVERMENTS




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           21. On October 3, 2018, and for a substantial period of time prior thereto and at all
times material hereto, all of the aforesaid enumerated defendants did individually,jointly and/or
severally own, operate, possess, oversee, manage, control, supervise, maintain and inspect a
hotel, as well as all bathroom shower facilities contained therein, which was operating under a
fictitious name commonly known to the general public and identified as the “Aloft Boston
Seaport Hotel” located in the South Boston Seaport District at 401-403 D Street, Unit 1 A,in
Boston, Massachusetts.


           22. At all times material hereto, all of the defendants, individually,jointly and/or
severally, were acting through their agents, servants, workmen, and employees, all of whom
were acting within the course and scope of their respective employment authority.


           23. On or about October 3, 2018, and for a substantial period of time prior thereto, the
above named defendants, individually,jointly and/or severally, by and through their respective
agents, servants, workmen and/or employees, had under their care, supervision, direction,
control, custody and maintenance the aforementioned Aloft Boston Seaport Hotel premises, and
said defendants were under a non-waiveable duty to maintain and inspect said premises,
including the bathroom shower floor, in a safe, non-defective condition for all persons lawfully
thereon, including plaintiff


            24. On or about October 3, 2018 and for a substantial period of time prior thereto, and
at all times relevant and material hereto, all of the above named “ALOFT”,“ARES”,
MARRIOTT”,and “DOE,INC.” defendants, by and through its agents, servants, workmen
and/or employees, were under a legal duty to design, construct, layout, assemble, inspect,
maintain, repair and keep in reasonably safe, sound, and non-defective condition, the bathroom
shower floor in the Aloft Boston Seaport Hotel so that it remained reasonably safe from
foreseeable harm for all business invitees, including Plaintiff Linda Terrizzi, lawfully staying as
a hotel guest at the incident premises.


           25. At all times material hereto, All Defendants individually,jointly and/or severally,
were responsible for the actions/inactions of their agents, servants, workmen and/or employees,
and are liable for the acts and omissions of its agents, servants, workmen and/or employees, as
described infra, under theories of respondeat superior, master-servant, agency, and right of
control.


           26. At all times material hereto. Plaintiff, Linda Terrizzi, was a business invitee of all
Defendants and was lawfully and rightfully upon the premises as a paid guest of the hotel.


           27. At all times material hereto, All Defendants, individually,jointly and/or severally,
were responsible for maintaining and inspecting in a reasonably safe condition the bathroom


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shower of the premises including keeping the floor clear of any hazards, debris and slippery
substances thereon. On the contrary, the aforesaid defendants neglected their duties and did
improperly maintain the aforesaid premises in a slippery and/or in a dangerous and unsafe
condition.


           28. At all times material hereto, All Defendants were responsible for providing a
reasonably safe environment for its business invitees, including the Plaintiff


           29. The aforesaid bathroom shower floor had a liquid soap substance on it that
plaintiff never observed prior to the occurrence of the accident.


           30. At all times material hereto. All Defendants, individually,jointly and/or severally,
by and through their agents, servants, workmen and/or employees, were responsible to assure
that the premises, particularly the bathroom shower floor was free of any hazardous and
dangerous conditions in order to avoid injury to the invitees of the hotel, particularly the
Plaintiff


IV.     STATEMENT OF CLAIM


        A. FACTS OF THE ACCIDENT


           31. On the afternoon of October 2, 2018, the plaintiff, Linda Terrizzi, arrived in
Boston Massachusetts and registered as a guest at the Aloft Boston Seaport Hotel where she
was invited to attend a business conference on behalf of her employer, HIBU,and deliver a
presentation the next day to approximately 100 people attending the conference at the aforesaid
hotel.


           32. In the early morning hours of October 3, 2018, Ms. Terrizzi awoke and prepared
to take a shower prior to her attendance at the conference.


           33. As the plaintiff entered the bathroom, the glass enclosed shower was in front of
her. The shower was enclosed with sliding glass doors and a metal handle on the inside of the
door. There were two square plastic units mounted on the wall under the shower head that were
labeled shampoo and soap.


           34. Plaintiff opened the left shower door by sliding it to the right side next to the right
door.


           35. As plaintiff took her first step, placing her right heel down upon the shower floor,
suddenly and without any warning she was caused to slip and lose her balance inside the shower
stall due to what felt like liquid soap on the floor and/or other slippery condition.

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            36. The loss of balance forcibly propelled her head backward, caused her left arm to
strike the back wall and her right elbow to become hooked onto the metal handle inside the
shower door, allowing her to regain her balance.

            37. Plaintiff subsequently gathered her composure, placed a towel on the shower floor
to prevent any further slipping and loss of balance. Plaintiff completed her shower with the towel
on the floor.


             38. Although Plaintiff felt an immediate onset of pain in her neck, right elbow and in
both shoulders, while noticing swelling of her right arm, she dressed and arrived at the
conference.
             39. When Plaintiff arrived at the meeting, she reported the accident to the conference
coordinator describing the accident, showing the coordinator her injured and swollen arm.


             40. Plaintiff gave the presentation which lasted about 1 hour to the conference
attendees.
             41. Upon completion of her presentation, the conference coordinator contacted the
front desk management and insisted that plaintiff complete an accident report which was
provided to the hotel manager.


            42. Although plaintiff attempted to seek medical treatment while in Boston, none of
the clinics had any openings and walk-ins were a 5 hour wait.


             43. Plaintiff decided to fly home that night and went to a local clinic where x-rays of
the left arm were taken and a hard cast/brace was provided to the plaintiff for 2 weeks since there
was swelling and a possible hair line fracture.


             44. Plaintiff avers that All Defendants, individually,jointly and/or severally, knew or
should have known of the existence ofthe dangerous and hazardous physical condition present
on the bathroom floor, in the shower stall entrance, as well as the existence of the aforesaid
slippery substance in the shower upon the floor within the premises and had actual and/or
constructive notice and knowledge of such hazardous and dangerous conditions. Despite having
such notice and knowledge of these dangerous conditions, prior to the accident, all Defendants
failed to protect and/or warn Plaintiff of the dangerous conditions existing thereon.



             45. This accident resulted solely from the negligence and carelessness of All
Defendants, their authorized agents, servants, workmen, employees, and/or independent business
contractors and/or subcontractors, and was due in no manner whatsoever to any act or failure to
act on the part of the Plaintiff.


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           46. The plaintiff promptly notified the defendants’ hotel manager and/or employee
who prepared an accident incident report that day. This report is within the exclusive possession,
custody and control of defendants who have failed and refused and continue to fail and refuse to
provide plaintiff and her counsel with a copy thereof

           B. AVERMENTS OF NEGLIGENCE

                                         COUNT ONE

                 PLAINTIFF LINDA TERRIZZI VS. ALL DEFENDANTS
                   INDIVIDUALLY.JOINTLY AND/OR SEVERALLY

                                        NEGLIGENCE

           44. Plaintiff LINDA TERRIZZI incorporates by reference the preceding paragraphs

of this Complaint as though the same were fully set forth herein at length.

           45. The negligence and carelessness of All Defendants, individually,jointly and/or

severally, by their agents, servants, workmen and/or employees consisted of, but is not limited

to, the following:

           a. Failing to install, implement, provide, utilize and properly maintain hotel
              bathroom shower flooring of a material surface that was slip-resistant and free of
              soap substance thereon;

           b. Failing to install implement, provide, utilize and properly maintain hotel
               bathroom flooring with a non-slip surface which could have prevented plaintiffs
               accident which resulted from a foreseeable condition and risk of harm;



           c. Failing to regularly, routinely, and properly clean, clear and remove on a
              consistent and timely basis the existence of any soap substance and/or other
              slippery conditions present upon the bathroom shower floor;

           d. Failing to properly timely inspect and maintain the aforesaid hotel bathroom
              shower floor to reduce any soap accumulation and buildup situated thereon;



           e. Failing to utilize appropriate and proper specific cleaning products recommended
              by the flooring manufacturer;




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 f Failing to exercise reasonable care in the maintenance and use of their shower
      facilities and failing to provide appropriate and proper bath mats, rugs, shower
      handrails, safety strips and other slip-resistant materials and cleaning products to
      prevent the creation of an unreasonable risk of harm and injury due to a
      foreseeable condition to its business invitees such as the plaintiff;


 g- Failing to install sufficient handrails on the inside of the shower door to prevent
    the possibility of a slip and fall accident therein due to the dangerous and
    defective condition existing thereon;

 h. Failing to install, affix, and place bathroom mats, rugs, and/or otherwise maintain
      the shower floor of the aforesaid premises in a condition which would protect and
      safeguard persons lawfully on said premises;

 1.   Permitting the aforesaid bathroom shower floor to be, become, and remain
      dangerous and/or defective so as to constitute a menace, danger, nuisance, or to
      trap persons lawfully upon Defendants’ premises who were preparing to use the
      shower;


 J- Creating a slippery and/or other dangerous condition upon the bathroom shower
      floor;

 k. Failing to have the aforementioned shower floor of the premises inspected at
      reasonable time intervals in order to determine the condition of same and whether
      it was reasonably safe for its intended use by their hotel guests;

 1. Failing to perform adequate inspections at periodic intervals that would have
      revealed the existence and accumulation of soap and other slippery substances on,
      upon, and around the floor of the premises and the dangerous conditions existing
      thereon;

 m. Allowing and improperly permitting the aforesaid dangerous and unsafe flooring
    conditions to exist on the floor of the premises;

 n. Failing to adequately and timely warn Plaintiff and other persons lawfully upon
    said premises of the dangerous and defective conditions existing thereon;

 0.   Failing to place warning signs in an area visible to plaintiff to prevent the creation
      of an unreasonable risk of harm to its invitees, such as plaintiff;

 P- Creating concealed dangerous and unsafe conditions which were not open,
    obvious and/or visible to the plaintiff and failing to take reasonable steps to
    remedy, replace and/or repair the dangerous condition;




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             q- Failing to act promptly, adequately, and appropriately upon actual and/or
                  constructive notice of the defective, unsafe condition to clean, prevent, maintain
                  and remedy such defective and unsafe condition especially with the failure to
                  install mats or rugs to absorb the slippery substance or soap substance conditions
                  existing upon the bathroom shower floor surface;

             r.   Failing to fully, properly and appropriately train, supervise, or instruct its agents,
                  servants, employees, and/or workmen regarding proper cleaning and maintenance
                  of the floor;

             s. Failing to fully complete their required duties, including but not limited to failing
                to properly respond, failing to carry-forth duties commenced, and failing to
                inspect work performed;

             t.   Failing to fully, adequately and properly train and/or supervise employees,
                  servants, and workmen to ensure that the duties assigned to them were completed
                  adequately, sufficiently, competently, and appropriately.

             u. Failing to adopt, enact, employ, implement and enforce proper and adequate
                measures, plans, precautions, procedures and safety programs regarding bathroom
                shower floor safety;

             V.   Failing to follow the relevant provisions of any and all applicable buildings and
                  property maintenance codes, ordinances and regulations,, including but not
                  limited to various editions of the “BOCA National Building Code,” the
                  International Building Code,” the International Property Maintenance Code,” and
                  applicable local ordinances, regulations and codes regarding bathroom shower
                  floor safety;


             46. At all times material hereto, Defendants,individually, jointly and/or

severally, were responsible for the actions/inaetions of their agents, servants, workmen

and/or employees, and are individually liable for the acts and omissions of their agents,

servants, workmen and/or employees, as described infra, under theories of respondeat

superior^ master-servant, agency, and right of control.

             47. As a direct and/or proximate result of the aforesaid negligence and carelessness,

of All Defendants individually,jointly and/or severally, Plaintiff Linda Terrizzi has sustained

severe, permanent, serious and disabling painful injuries, including but not limited to the

following:
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       a. Cervical disc herniation necessitating extensive surgical intervention,

            with the performance of numerous procedures including an anterior

            cervical subtotal corpectomy and fusion at C5-C7;

       b. Aggravation of Cervical stenosis;

       c. Aggravation of Spondylolisthesis, cervical region;

       d. Cervical spine instability;

       e. Aggravation of Severe spinal stenosis at C6-C7 and C7- T1 with


            myleopathy in the cervical region;

       f. Aggravation of Cervical spondylosis with myelopathy;

       g- Cervical radiculopathy with right interscapular pain, motor and

            sensory deficits in the levels C4-C5 and C7-C8 distribution;

       h. Right arm atrophy, pain and weakness

       1.   Generalized facial pain with headaches;

       J-   Acute lumbar spine sprain and strain;

       k. Acute thoracic spine sprain and strain;

       1.   Acute bilateral shoulder sprain and strain;

       m. Acute and chronic denervation in ulnar innervated hand muscles;

       n. Ulnar neuropathy affecting instrinsic hand muscles only;

       o. Right arm pain; pain and weakness in the right wrist and atrophy in

            the right hand;

       P- Right elbow pain;

       q- Permanent surgical scarring of the neck;

       r. Post traumatic stress disorder;




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                   Plaintiff has suffered further injuries to the bones, muscles, nerves, tissues and

ligaments of her body, the full extent of which has yet to be determined, sleeplessness, anxiety,

distress, depression, and a severe and permanent shock to her nerves and nervous system, as well

as various other injuries and conditions that may be established, all of which have caused her and

will continue to cause her great pain and agony, and have prevented her and will continue to

prevent her in the future from attending to her daily duties and occupation, all to her great

financial damage and loss.

            48. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants, individually,jointly and/or severally. Plaintiff, Linda Terrizzi has been obliged to

expend substantial sums of money for medicine and medical attention in and about endeavoring

to receive proper medical care for her serious injuries. Plaintiff will be obliged to expend

additional sums of money for the same purposes in the future, all to her great financial damage

and loss.

            49. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants, individually,jointly and/or severally, plaintiff Linda Terrizzi has suffered great

bodily pain, disability, suffering, mental anguish, humiliation, shock, depression, distress,

difficulty sleeping, permanent scarring of the cervical spine and injury to her nerves and nervous

system, and may continue to suffer the same in the future, all to her great financial and personal

detriment and loss.

            50. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants individually,jointly and/or severally, plaintiff Linda Terrizzi has been unable to

perform and/or enjoy the normal and ordinary activities and pleasures of life, which loss of




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enjoyment may continue indefinitely into the future, all to her great financial and personal

detriment and loss.


           51. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants, individually,jointly and/or severally, plaintiff Linda Terrizzi has been unable to

attend to, perform, and/or has been impaired in performing her usual duties, activities, and

occupations, which may continue indefinitely into the future, all to her great financial and

personal detriment and loss.

           52. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants, individually,jointly and/or severally, plaintiff Linda Terrizzi has suffered a loss

of earnings and/or impairment of her earning capacity and power, all to her great financial and

personal detriment and loss.

           53. As a direct result of the aforesaid accident, plaintiff, Linda Terrizzi has or may

hereafter incur medical bills, expenses, losses, loss of earnings and impairment of earning

capacity and damages, for which such claims are herein made against all defendants.

           WHEREFORE,Plaintiff, Linda Terrizzi demandsjudgment in her favor and against

all defendants, individually,jointly and/or severally, in an amount in excess of Seventy Five

Thousand Dollars ($75,000.00), exclusive of interest and costs of suit.

                                       COUNT II
                                 NEGLIGENT SUPERVISION

                 PLAINTIFF LINDA TERRIZZI VS. ALL DEFENDANTS

                      INDIVIDUALLY,JOINTLY AND/OR SEVERALLY

           54. Plaintiff, Linda Terrizzi, hereby incorporates by reference the preceding

paragraphs of this Complaint as though each were set forth at length herein.




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              55. All Defendants encouraged, tolerated, ratified, and were deliberately indifferent to

the following patterns, practices, procedures and customs, and to the need for more, different.

and adequate training, supervision, investigation, or discipline in the areas, including but not

limited to:

                 a. Failure to monitor independent contractors and/or subcontractors and/or


                     employees working within the premises, with regard to the administration of

                     duties assumed and assigned from defendants, including but limited to

                     cleaning, inspecting and maintaining the bathroom shower floor of the

                     premises in a condition which would protect and safeguard persons lawfully

                     on said premises and inspecting the aforesaid floor at reasonable intervals in

                     order to determine the condition of same;

                  b. Failing to identify, investigate, and take remedial and/or disciplinary action

                     and/or measures against their agents, employees and independent contractors

                     and sub-contractors who were aware of and/or concealed their failure to

                     adequately perform their duties, thereby causing and encouraging said agents

                     and employees to continue acting in derogation of their duties.

                 c. Failure of employees, agents and independent contractors and sub-contractors

                     to follow established policies, procedures, directives, instructions, and safety

                     programs regarding the cleaning, maintenance, inspection, and repair of the

                     aforesaid bathroom shower floor.

              56. At all times material hereto, all defendants, individually,jointly and/or severally,

were responsible for the actions/inactions of their agents, servants, workmen and/or employees,

and are liable for the acts and omissions of their agents, servants, workmen and/or employees, as




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described infra, under theories of respondeat superior^ master-servant, agency, and right of

control.

            57. As a direct and/or proximate result of the aforesaid negligence and carelessness of

all defendants, individually,jointly and/or severally, plaintiff Linda Terrizzi has been unable to

attend to, perform, and/or has been impaired in performing her usual duties, activities, and

occupations, which may continue indefinitely into the future, all to her great financial and

personal detriment and loss.

               WHEREFORE Plaintiff Linda Terrizzi demands judgment in her favor and

against all defendants, individually,jointly and/or severally, in an amount in excess of Seventy

Five Thousand Dollars ($75,000.00) exclusive of interest and costs of suit.

V.        RELIEF

                       Plaintiff Linda Terrizzi respectfully requests this Honorable District Court

to award compensatory monetary damages for past, present and future pain, suffering and

disability resulting from her serious significant and permanent accident related damages together

with all medical treatment expenses incurred and other economic losses and damages sustained

herein.




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VI.        CERTIFICATION AND CLOSING

               Under Federal Rule of Civil Procedure 11, by signing below, I cerlify lo the best

of my knowledge, infomiation, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessaiy delay, or needlessly increase the cost of

litigation;(2) is supported by existing law or by a non-frivolous argument for extending,

modifying, or reversing existing law;(3)the factual contentions have evidentiary support or, if

specifically so identified, will likely have evidentiaiy support afier a reasonable opportunity for

forlher investigation or discoveiy; and (4)the complaint otheivvise complies with the

requirements of Rule 11.

 MCTIGHE,WET^ & O’RpURKE,P.C.                         LA'
                                                             fR LAW.


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                                                       LINDA TERRIZZI
                                                       (“Local Counsel”)



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